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                              UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
               v.                                )                Case No.   2:21-mj-101
                                                 )
                                                 )
ROBERT RENNER                                    )

                           NOTICE OF CONSENT TO CONTINUE

       NOW COMES Robert “Mike” Renner, through counsel, and respectfully notices this Court

that Mr. Renner is aware of his right to an initial appearance without unnecessary delay.

       Mr. Renner was initially scheduled for an initial appearance today, October 18, 2021.

Under the circumstances, he is consenting to hold the hearing by video at a later date (October 25,

2021 at 1 p.m.).

       WHEREFORE, Mr. Renner respectfully requests that this Court take notice of his

consent to hold his initial appearance hearing at a later date.

       Dated at Burlington, Vermont this 18th day of October, 2021.

                                                       Respectfully Submitted,

                                                 By: /s/ Sara M. Puls
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